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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                    Plaintiff,
                                              CASE NO. 17-cr-20274
 -vs-
                                              HON. BERNARD A. FRIEDMAN
 JUMANA NAGARWALA, et al.,

                Defendant.
 ________________________________/

              NOTICE OF CHANGE OF ASSISTANT U.S. ATTORNEY

  To:    Attorney Admission Clerk and All Other Parties

  Please take notice of the following addition of Attorney of record for the above
  captioned case:

  Add the following AUSA(s):

 Name: Christian Levesque
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 Christian.Levesque@crm.usdoj.gov            Matthew Schneider
                                             United States Attorney

                                             s/Christian Levesque
                                             Christian Levesque
                                             Trial Attorney
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                                             Human Rights and Special Prosecution
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 Dated: October 15, 2018
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